 Case 3:19-cr-00083-M Document 455 Filed 08/29/22         Page 1 of 3 PageID 19263



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )   No. 3:19-cr-083-M-1
                                           )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                           )




     MR. HAMILTON’S UNOPPOSED MOTION TO TRAVEL FOR SURGERY TO
                          REMOVE CANCER




Abbe David Lowell, Bar No. 358651DC            Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC           WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC            2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                           Dallas, TX 75201
1901 L Street, NW                              DRobbins@winston.com
Washington, DC 20036                           214-453-6100 (ph)
ADLowell@winston.com                           214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)




                        Counsel for Defendant Ruel M. Hamilton
 Case 3:19-cr-00083-M Document 455 Filed 08/29/22                  Page 2 of 3 PageID 19264



       Last month, the Court extended Mr. Hamilton’s report date so that more testing could be

done to determine whether Mr. Hamilton’s cancer has returned. (Dkt. 453.) Unfortunately, the

lymph nodes that we identified as being of concern do appear cancerous, and Mr. Hamilton has

scheduled a surgery to have those lymph nodes and some surrounding tissue removed. Mr.

Hamilton successfully had this surgery at the IU Health University Hospital in Indianapolis,

Indiana during his initial bout with cancer, and he is scheduled to return to this facility for that

surgery again. Mr. Hamilton plans to travel to Indianapolis on September 13th for a pre-operation

appointment on the 14th, surgery on the 15th, and to return to Dallas upon his recovery on

September 22, 2022. Mr. Hamilton’s ankle monitor will need to be removed prior to his departure.

       Accordingly, Mr. Hamilton requests this Court’s permission to travel to Indianapolis for

surgery from September 13-22, 2022, and to have his ankle monitor removed prior to his travel.

Chad Meachum has confirmed that the government has no objection to this request.

Dated: August 29, 2022

                                     Respectfully submitted,

/s/ Christopher D. Man
Abbe David Lowell, Bar No. 358651DC                  Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC                 WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC                  2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                                 Dallas, TX 75201
1901 L Street, NW                                    DRobbins@winston.com
Washington, DC 20036                                 214-453-6100 (ph)
ADLowell@winston.com                                 214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)


                            Counsel for Defendant Ruel M. Hamilton




                                                 1
 Case 3:19-cr-00083-M Document 455 Filed 08/29/22                   Page 3 of 3 PageID 19265



                                 CERTIFICATE OF SERVICE

       I certify that on August 29, 2022, a copy of the foregoing was filed with the Court’s

electronic case filing system, thereby effecting service on counsel for all parties.

                                       /s/ Christopher D. Man
                                       Christopher D. Man




                                                  2
